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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                             CASE NO.:


 LOIDA ALMANZA
 and other similarly-situated individuals,

         Plaintiff (s),

 v.


 ASAP COURIER & LOGISTICS, LLC
 d/b/a NEED IT NOW DELIVERS

       Defendant,
 ________________________________/

                                      COMPLAINT
                           (OPT-IN PURSUANT TO 29 U.S.C § 216(b)

         COMES NOW the Plaintiff LOIDA ALMANZA, and other similarly-situated individuals,

 by and through the undersigned counsel, and hereby sue Defendant ASAP COURIER &

 LOGISTICS, LLC d/b/a NEED IT NOW DELIVERS and alleges:

      1. This is an action to recover money damages for unpaid overtime wages and retaliation

         under the laws of the United States. This Court has jurisdiction pursuant to Title 28 U.S.C.

         § 1337 and by Title 29 U.S.C. § 201-219, § 216(b), the Fair Labor Standards Act, “the

         Act”, (Section 216 for jurisdictional placement).

      2. Plaintiff LOIDA ALMANZA is a resident of Miami-Dade County, Florida, within the

         jurisdiction of this Honorable Court. Plaintiff is a covered employee for purposes of the

         Act.




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    3. Defendant ASAP COURIER & LOGISTICS, LLC d/b/a NEED IT NOW DELIVERS

       (hereinafter ASAP COURIER, or Defendant) is a Florida corporation which has its place

       of business in Broward County and performed business in Dade and Broward County

       within the jurisdiction of this Court. At all times Defendant was and is engaged in interstate

       commerce.

    4. All the actions raised in this complaint took place in Broward County Florida, within the

       jurisdiction of this Court.

                        ALLEGATIONS COMMON TO ALL COUNTS

    5. This cause of action is brought by Plaintiff as a collective action to recover from Defendant

       overtime compensation, liquidated damages, retaliatory damages, and the costs and

       reasonably attorney’s fees under the provisions of Fair Labor Standards Act, as amended,

       29 U.S.C. § 201 et seq (the “FLA or the “ACT”) on behalf of Plaintiff, and all other current

       and former employees similarly situated to Plaintiff (“the asserted class”) who were

       classified as “delivery drivers”, and who worked in excess of forty (40) hours during one

       or more weeks on or after September 2018 (the “material time”) without being

       compensated overtime wages pursuant to the FLSA.

    6. Corporate Defendant ASAP COURIER provides courier, pick-up, and delivery services in

       the areas of Miami-Dade County, Broward, and Palm Beach County.

    7. Defendant ASAP COURIER employed Plaintiff LOIDA ALMANZA as a courier driver

       from approximately September 27, 2018 through October 22, 2018, or 3 weeks more 4

       days.

    8. Plaintiff had a daily rate of approximately $130.00 plus an additional of $45.00, resulting

       in $830.24 for a week of 6 days of work.



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    9. During her time of employment with Defendant, Plaintiff LOIDA ALMANZA had an

       irregular schedule. She worked 6 days per week, usually from Monday to Saturday from

       7:00 AM to 9:00 PM. Plaintiff completed an average of 84 working hours every week.

    10. Plaintiff and other similarly situated individuals, were not allowed to take bona-fide lunch

       periods, but Defendant automatically deducted 30 minutes of lunch time every day. Every

       week the unproperly deducted lunch time, resulted in 3 unpaid hours for Plaintiff.

    11. Plaintiff and other similarly situated individuals worked and average of 84 hours weekly.

       However, they were not paid for overtime hours.

    12. Therefore, Defendant willfully failed to pay Plaintiff overtime at the rate of time and a half

       her regular rate, for every hour that he worked in excess of forty (40), in violation of Section

       7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

    13. Plaintiff was paid weekly with checks and paystubs that did not reflect the real number of

       hours worked.

    14. Plaintiff was not in agreement with the missing payment for overtime hours and

       complained to operations manager Nixzon Valcin. This manager ignored Plaintiff’s request

       and did not provide any answer.

    15. Plaintiff is not in possession of time and payment records, but she is going to provide a

       good faith estimate of her unpaid overtime hours, based on her recollections.

    16. On or about October 22, 2018, Defendant unfairly fired Plaintiff using a pretextual reason.

       There was not a reason to fire Plaintiff other than retaliation due to her complaint and

       requests to be paid for overtime hours.




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    17. Plaintiff and all others similarly situated individuals, were victims of Defendant’s common

       policy and practices which enabled them to violate overtime provisions of the Fair Labor

       Standards Act.

    18. Plaintiff LOIDA ALMANZA seeks to recover unpaid overtime wages, accumulated during

       the relevant period of employment; retaliatory damages; liquidated damages; at least 11

       regular hours of lunch time which were automatically deducted, and any other relief as

       allowable by law.

    19. The additional persons who may become Plaintiffs in this action are employees and/or

       former employees of Defendant who are and who were subject to the unlawful payroll

       practices and procedures of Defendant and were not paid overtime hours at the rate of time

       and one half of their regular rate of pay for all overtime hours worked in excess of forty,

       and who suffered improper deductions for untaken lunch periods.

                                      COUNT I:
                    WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
                              FAILURE TO PAY OVERTIME

    20. Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-19 above as

       if set out in full herein.

    21. Defendant ASAP COURIER was and is engaged in interstate commerce as defined in §§

       3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Defendant is a courier

       services company that participated in interstate commerce by transporting all kind of goods

       and valuables. Defendant recurrently received on its premises all kind of merchandise

       ordered and purchased from out of state manufacturers. Defendant’s activities were

       essential to interstate commerce. Defendant also engaged in interstate commerce by

       promoting their business using the instrumentalities of interstate commerce. Defendant has



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       more than two employees recurrently engaged in commerce or in the production of goods

       for commerce by regularly and recurrently using the instrumentalities of interstate

       commerce to accept and solicit funds from non-Florida sources, by using electronic devices

       to authorize credit card transactions. Upon information and belief, the annual gross revenue

       of the Employer/Defendant was at all times material hereto in excess of $500,000 per

       annum. By reason of the foregoing, Defendant’s business activities involve those to which

       the Fair Labor Standards Act applies. Therefore, there is FLSA enterprise coverage.

    22. Plaintiff and those similarly-situated were employed by an enterprise engage in interstate

       commerce. Plaintiff and those similarly-situated through their daily activities were

       regularly engaged in interstate commerce. Plaintiff as a courier driver, provided courier

       services to firms and individuals engaged in commerce or in the production of goods for

       commerce. Plaintiff’s activities as a courier driver were related and essential to interstate

       commerce. Therefore, there is FLSA individual coverage.

    23. Defendant ASAP COURIER employed Plaintiff LOIDA ALMANZA as a courier driver,

       from approximately September 27, 2018 through October 22, 2018, or 3 weeks more 4

       days.

    24. During her time of employment with Defendant, Plaintiff LOIDA ALMANZA had an

       irregular schedule. She worked 6 days per week, usually from Monday to Saturday from

       7:00 AM to 9:00 PM. Plaintiff completed an average of 84 working hours every week.

    25. Plaintiff had a daily rate of approximately $130.00 plus an additional of $45.00, resulting

       in $830.24 for a week of 6 days of work.




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    26. Plaintiff and other similarly situated individuals, were not allowed to take bona-fide lunch

       periods, but Defendant automatically deducted 30 minutes of lunch time every day. These

       unproperly deducted lunch time, resulted in 3 unpaid hours for Plaintiff every week.

    27. Plaintiff and other similarly situated individuals worked and average of 84 hours weekly.

       However, they were not paid for overtime hours.

    28. Therefore, Defendant willfully failed to pay Plaintiff overtime at the rate of time and a half

       her regular rate, for every hour that he worked in excess of forty (40), in violation of Section

       7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

    29. Plaintiff signed in and out a time-sheets. Plaintiff was paid weekly with checks and

       paystubs that did not reflect the real number of hours worked.

    30. Defendant violated the record keeping requirements of FLSA, 29 CFR Part 516.

    31. The records, if any, concerning the number of hours actually worked by Plaintiff and those

       similarly situated, and the compensation actually paid to such employees should be in

       possession and custody of Defendant. However, upon information and belief, Defendant

       did not maintain accurate time records of hours worked by Plaintiff and other employees.

    32. Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at the time of

       the filing of this complaint, Plaintiff’s good faith estimate of unpaid overtime wages is as

       follows:

       *Please note that these are preliminary calculations which are subjected to modification as
       discovery would dictate

           a. Total amount of alleged half-time unpaid O/T wages:

               Seven Hundred Seventy Dollars and 64/100 ($770.64)

           b. Calculation of such wages:

               Total relevant weeks of employment: 3 weeks plus 4 days

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              Total number of hours worked: 84 hours weekly
              Total number or paid hours: 84 hours
              Total number of unpaid overtime hours: 44 hours
              Rate paid: $130.00 daily + $45.00= $830.34
              Paid weekly: $830.34: 84 hours = $9.88 an hour: 2 = $4.94 half-time

               i.- Half-time $4.94 x 44 O/T hours= $217.36 weekly x 3 weeks=$652.08

               ii.- Half-time $4.94 x 24 O/T hours (6 O/T hours x 4 days) = $118.56

              Total i and ii: $770.64

           c. Nature of wages (e.g. overtime or straight time):

              This amount represents half-time unpaid overtime wages.

    33. At all times material hereto, the Employer/Defendant failed to comply with Title 29 U.S.C.

       §207 (a) (1), in that Plaintiff and those similarly-situated performed services and worked

       in excess of the maximum hours provided by the Act but no provision was made by the

       Defendant to properly pay them at the rate of time and one half for all hours worked in

       excess of forty hours (40) per workweek as provided in said Act.

    34. Defendant knew and/or showed reckless disregard of the provisions of the Act concerning

       the payment of overtime wages as required by the Fair Labor Standards Act and remains

       owing Plaintiff and those similarly-situated these overtime wages since the commencement

       of Plaintiff’s and those similarly-situated employee’s employment with Defendant as set

       forth above, and Plaintiff and those similarly-situated are entitled to recover double

       damages.

    35. Defendant ASAP COURIER willfully and intentionally refused to pay Plaintiff overtime

       wages as required by the law of the United States and remains owing Plaintiff these

       overtime wages.




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    36. Plaintiff seeks to recover unpaid overtime wages accumulated during her time of

          employment with Defendant as allowable by law.

    37. Plaintiff has retained the law offices of the undersigned attorney to represent her in this

          action and is obligated to pay a reasonable attorneys’ fee.

                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiff and those similarly-situated respectfully requests that this Honorable

 Court:

          A. Enter judgment for Plaintiff LOIDA ALMANZA and other similarly-situated and

             against the Defendant ASAP COURIER on the basis of Defendant’s willful violations

             of the Fair Labor Standards Act, 29 U.S.C. § 201 et seq.; and

          B. Award Plaintiff LOIDA ALMANZA actual damages in the amount shown to be due

             for unpaid overtime compensation for hours worked in excess of forty weekly, with

             interest; and

          C. Award Plaintiff an equal amount in double damages/liquidated damages; and

          D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

          E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.

                                           JURY DEMAND

 Plaintiff and those similarly-situated demand trial by jury of all issues triable as of right by jury.



                                COUNT II:
          FEDERAL STATUTORY VIOLATION PURSUANT TO 29 U.S.C. 215 (a)(3)
                         RETALIATORY DISCHARGE




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    38. Plaintiff LOIDA ALMANZA re-adopts each and every factual allegation as stated in

       paragraphs 1-19 of this complaint as if set out in full herein.

    39. Defendant ASAP COURIER was and is engaged in interstate commerce as defined in §§

       3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A). Defendant is a courier

       services company that participated in interstate commerce by transporting all kind of goods

       and valuables. Defendant recurrently received on its premises all kind of merchandise

       ordered and purchased from out of state manufacturers. Defendant’s activities were

       essential to interstate commerce. Defendant also engaged in interstate commerce by

       promoting their business using the instrumentalities of interstate commerce. Defendant has

       more than two employees recurrently engaged in commerce or in the production of goods

       for commerce by regularly and recurrently using the instrumentalities of interstate

       commerce to accept and solicit funds from non-Florida sources, by using electronic devices

       to authorize credit card transactions. Upon information and belief, the annual gross revenue

       of the Employer/Defendant was at all times material hereto in excess of $500,000 per

       annum. By reason of the foregoing, Defendant’s business activities involve those to which

       the Fair Labor Standards Act applies. Therefore, there is FLSA enterprise coverage.

    40. Plaintiff and those similarly-situated were employed by an enterprise engage in interstate

       commerce. Plaintiff and those similarly-situated through their daily activities were

       regularly engaged in interstate commerce. Plaintiff as a courier driver, provided courier

       services to firms and individuals engaged in commerce or in the production of goods for

       commerce. Plaintiff’s activities as a courier driver were related and essential to interstate

       commerce. Therefore, there is FLSA individual coverage.




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     41. By reason of the foregoing, Defendant’s business activities involve those to which the Fair

        Labor Standards Act applies.

     42. 29 U.S.C. § 207 (a) (1) states, "if an employer employs an employee for more than forty

        hours in any work week, the employer must compensate the employee for hours in excess

        of forty at the rate of at least one and one-half times the employee's regular rate…"

     43. Likewise, 29 U.S.C. 215(a)(3) states... it shall be unlawful for any person— “to discharge

        or in any other manner discriminate against any employee because such employee has filed

        any complaint or instituted or caused to be instituted any proceeding under or related to

        this chapter, or has testified or is about to testify in any such proceeding,......”

     44. Defendant ASAP COURIER employed Plaintiff LOIDA ALMANZA as a courier driver

        from approximately September 27, 2018 through October 22, 2018, or 3 weeks more 4

        days.

     45. Plaintiff and other similarly situated individuals, were not allowed to take bona-fide lunch

        periods, but Defendant automatically deducted 30 minutes of lunch time every day. These

        unproperly deducted lunch time, resulted in 3 unpaid hours for Plaintiff, every week.

     46. Plaintiff and other similarly situated individuals worked and average of 84 hours weekly.

        However, they were not paid for overtime hours.

     47. Therefore, Defendant willfully failed to pay Plaintiff overtime at the rate of time and a half

        her regular rate, for every hour that he worked in excess of forty (40), in violation of Section

        7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).

     48. Plaintiff was not in agreement with the missing payment for overtime hours and

        complained to operations manager Nixzon Valcin and demanded to be paid for overtime

        hours. This manager ignored Plaintiff’s request and did not provide any answer.



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     49. This complaint constituted protected activity under FLSA, 29 U.S.C. 215(a)(3).

     50. As a consequence of Plaintiff’s complaint, on or about October 22, 2018, Defendant

        unfairly fired Plaintiff using a pretextual reason. There was not a reason to fire Plaintiff

        other than retaliation due to her complaint and request to be paid for overtime hours.

     51. At all times during her employment, Plaintiff performed her work satisfactorily. There was

        no reason other than a retaliatory action to terminate Plaintiff’s employment with

        Defendant.

     52. The termination of Plaintiff LOIDA ALMANZA by the Defendant, was directly and

        proximately caused by Defendant’s unjustified retaliation against her, because of her

        complaint about overtime payment, in violation of Federal Law.

     53. Plaintiff’s termination came just in closed proximity after Plaintiff’s participation in

        protected activity.

     54. Defendant ASAP COURIER willfully and maliciously retaliated against Plaintiff because

        she engaged in protected activity.

     55. The Defendant’s termination of Plaintiff ‘s employment, was in direct violation of 29

        U.S.C. 215 (a) (3) and, as a direct result, Plaintiff has been damaged.

     56. Plaintiff has retained the law offices of the undersigned attorney to represent her in this

        action and is obligated to pay a reasonable attorneys’ fee.

                                      PRAYER FOR RELIEF

 WHEREFORE, Plaintiff LOIDA ALMANZA respectfully requests that this Honorable Court:

       A. Issue a declaratory judgment that Defendant’s acts, policies, practices and procedures

           complained of herein violated provisions of the Fair Labor Standards Act;




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        B. Enter judgment against Defendant ASAP COURIER that Plaintiff recovers

           compensatory damages and an equal amount of liquidated damages as provided under

           the law and in 29 U.S.C. § 216(b);

        C. That Plaintiff recovers an award of reasonable attorney fees, costs, and expenses.


        D. Order the Defendant ASAP COURIER to make whole the Plaintiff by providing

           appropriate back pay and other benefits wrongly denied in an amount to be shown at

           trial and other affirmative relief;

        E. Plaintiff LOIDA ALMANZA further prays for such additional relief as the interests of

           justice may require.

                                           JURY DEMAND

  Plaintiff LOIDA ALMANZA demands trial by jury of all issues triable as of right by jury.

  DATED: February 21, 2019

                                                   Respectfully submitted,

                                                  By: _/s/ Zandro E. Palma____
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